
        Georgia Court of Appeals - Login
    
    
    
        
    
    
        
            
            
            
            
            
            
            
            
            
                
                    
                
                

                

                    
                        
                            
                                
                                    
        
            Welcome to the New eFaST website for the Court of Appeals of Georgia. 


 Instructions 


 Questions and Answers 


 June 29, 2012 

 The e-filing instructions have been updated. 


Please review the changes that have been made to our document assembly requirement for responses to applications.
 





This is a reminder that if you have registered for e-filing, you will receive all docketing notices, orders, opinions and other notices  about appeals in which you are counsel of record through e-mail from the COA EFast System.  Please make sure e-mails from the coaefast@gaappeals.us do not go to trash or your spam mail folder.
Also, it is your responsibility to keep your e-mail address up to date in your profile on the COA EFAST System so that you will receive your mail from the system.






Please do not attach the following types of exhibits to pleadings such as briefs and motions (including motions for reconsideration) which are e-filed:

Do not attach a copy of the Petition to the Supreme Court of Georgia for a Writ of Certiorari to the Notice of Filing the Petition.

Do not attach copies of this Court's opinions or orders to your pleadings.  You should provide citations to opinions you reference and the date and type of order you reference.

Do not attach exhibits which are in the trial court record which were filed with this Court by the trial court clerk for a direct appeal.  You should reference these documents by the record volume number and page number in the official record.





June 30, 2014 - Credit Card Convenience Fee reduced to $10.00



Please be advised the credit card convenience fee will be reduced to $10.00 effective July 1, 2014.








            Version 1.0.109_10

            
                
                    
                        Bar/Pro Se ID
                    
                    
                        
                    
                    
                        Password
                    
                    
                        
                    
                    
                    
RegisterÂ&nbsp;Â&nbsp;
                    Forgot Password

                    
                    
                        Request Assistance
                    
                
            Version 1.0.109_10

        
                                    
                                    
                                    
                                
                                
                                
                            
                            
                        
                        

                    
                    

                
                
            
            

            
            
                
                    
                        Copyright Â© 2014 --- All Rights Reserved.
                    
                
                
            
            
        
    
    